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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC,                    §
                                                     §
                          Plaintiff,                 §       Case No. 2:19-cv-00291-JRG-RSP
   v.                                                §                  (Lead Case)
                                                     §
   HOLOPHANE EUROPE LIMITED,                         §          JURY TRIAL DEMANDED
   ACUITY BRANDS LIGHTING DE                         §
   MEXICO S DE RL DE CV,                             §
   HOLOPHANE, S.A. DE C.V. and                       §
   ARIZONA (TIANJIN) ELECTRONICS                     §
   PRODUCTS TRADE CO. LTD.,                          §
                                                     §
                          Defendants.                §
                                                     §
   ULTRAVISION TECHNOLOGIES, LLC,                    §
                                                     §       Case No. 2:19-cv-00398-JRG-RSP
                          Plaintiff,                 §                (Member Case)
   v.                                                §
                                                     §          JURY TRIAL DEMANDED
   YAHAM OPTOELECTRONICS CO., LTD.,                  §
                                                     §
                          Defendants.                §

      ORDER GRANTING YAHAM OPTOELECTRONICS CO., LTD.’S OPPOSED
   MOTION TO STRIKE PORTIONS OF THE EXPERT REPORTS OF ZANE COLEMAN
         AND STEPHEN E. DELL CONCERNING UNACCUSED PRODUCTS
          Before the Court is Defendant Yaham Optoelectronics Co., Ltd.’s (“Yaham”) Motion to

   Strike Portions of the Expert Reports of Zane Coleman and Stephen E. Dell Concerning Unaccused

   Products. After considering the same, and there being good cause for such relief as set forth in

   Yaham’s motion, the Court finds that the motion should be and is GRANTED.

          The portions of the October 19, 2020 Expert Reports of Zane Coleman and Stephen E. Dell

   that reference the Compact S floodlight, Lumiway I floodlight and streetlight, Lumiway II high

   mast light and streetlight, Linear II floodlight, Rana floodlight, high mast light and streetlight,

   Safeguard floodlight and streetlight, Argus high mast light, Slim streetlight and Tri streetlight (the
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   “Unaccused Products”) are stricken from the record in this case and will not be considered by the

   Court.

            Ultravision and its experts are hereby precluded from introducing any such evidence,

   positions, arguments, or opinions regarding the Unaccused Products at trial.




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